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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF COLORADO


                                  )
   In re:                         )                      Case No. 09-37480 (KHT)
                                  )                      Chapter 13
   BYRON PATTERSON MCDANIEL JR    )
   AND LAURA PAIGE MCDANIEL       )
                                  )
                                  )
          Joint Debtors           )
                                  )
                                  )
   BYRON PATTERON MCDANIEL JR AND )
   LAURA PAIGE MCDANIEL           )                      Adv. Pro. 17-01274 (KHT)
   Plaintiffs                     )
                                  )
   v.                             )
                                  )
   NAVIENT SOLUTIONS LLC,         )
   Defendant.                     )


                     NOTICE OF SUPPLEMENTAL AUTHORITIES

   Pursuant to the District of Colorado Local Rule 7.1(f), Plaintiffs hereby submit three

   supplemental authorities (attached hereto as Exhibits A, B, C) that have been entered by

   United States Bankruptcy Courts, and a United States District Court, since the filing of

   Plaintiffs’ Response In Opposition to Defendant’s Motion To Dismiss (ECF No. 10).

   These authorities are relevant to the matters at hand and issues raised by the Defendant’s

   Motion to Dismiss (ECF No. 8).


                                                Respectfully submitted,


                                                By:    /s/ Austin Smith


                                                       Austin Smith, NY Bar. # 5377254
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